                             UNITED STATES DISTRICT COURT

                       FOR THE MIDDLE DISTRICT OF TENNESSEE

                                        NASHVILLE DIVISION

UNITED STATES OF AMERICA                      )


       V.                                     )      No. 3:18-00199
                                                     (Judge William Campbell)

TARIUS CLAYBROOKS                             )


                         PETITION TO ENTER A PLEA OF GUILTY

       I, Tarius Claybrooks, respectfully represent to the Court as follows:(1) My true full

       name is Tarius Claybrooks . I was born in l-,-s~k o f le-,'r.Al            and I am '-/6
years old and completed /-L    years of formal education.


       (2) My retained lawyers are James Wiggington and John Tennyson.

        (3) I have received a copy of the Plea Agreement and Indictment before being called upon
to plead and have read and discussed it with my lawyer, and believe and feel that I understand
every accusation made against me in the Indictment.

       (4) I have had sufficient opportunity to discuss with my lawyer the facts and surrounding
circumstances concerning the matters mentioned in the Indictment. My lawyer has counseled
and advised with me as to the nature and cause of every accusation against me. We have
thoroughly discussed the government's case against me and my potential defenses to the
government's case. My lawyer has explained each element of the crime charged to me and what
the government would offer to prove these elements beyond a reasonable doubt.

       (5) I understand that the statutory penalty for each of the offenses with which I am
charged is,
    a. as to Count(s) l :
             i. not more than ten (10) years imprisonment,
             ii. restitution of mandatory or discretionarey restitution as required by 18
                 U.S.C. §§3663 and 3663A,
             iii. a fine of up to $500,000,
             iv. a mandatory $100 special assessment, and
             v. a term of supervised release of not less than four (4) years and not more
                 than life in addition to such term of imprisonment.


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  b. as to Count(s) 2:
           i. not more than ten (10) years imprisonment, unless defendant is determined
               to have at least three previous convictions of either a violent felony or a
               serious drug offense, in which case, not less than fifteen (15) years,
           ii. restitution of mandatory or discretionary restitution as required by 18
               U.S.C. §§3663 and 3663A,
           iii. a fine of up to $250,000,
           iv. a mandatory $100 special assessment, and
          v. a term of supervised release of not more than three (3) years unless
               defendant is determined to have at least three previous convictions of either
               a violent felony or a serious drug offense, in which case, not more than five
               (5) years..
  c. as to Count(s) 3:
          i, not less than 5 or more than life years imprisonment, consecutive to any
              other sentence,
          ii. a fine of up to $250,000, and
          iii. a mandatory $100 special assessment




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       I understand that terms of imprisonment for convictions on more than one count may be
ordered to run concurrently or consecutively with each other and that a sentence on Count 3
would be required to run consecutively with a sentence on Counts 1 and 2.

        (6) I have been advised that I will be sentenced to a sentence sufficient but not greater
than necessary to satisfy the goals of sentencing specified in18 U.S.C. § 3553(a). One
consideration will be Guidelines established by the United States Sentencing Commission. I
understand that these Guidelines are advisory, but that the Court must take account of the
Guidelines together with other sentencing goals. My lawyer and I have discussed the calculation
of the Guidelines in my case. My lawyer has given me an estimate of the Guidelines range that
may apply in my case. I realize that this is simply my lawyer's estimate. I understand that my
advisory Guideline range will be calculated by the United States Probation Officer who prepares
the presentence report in my case. This estimation is subject to challenge by either me or the
government, unless prohibited by a plea agreement. The final Guideline calculation will be
made by the Court. I further understand that I may be sentenced to a fine to be calculated
through the Guidelines. No fine will be imposed if the Judge finds me unable to pay any fine.
Considered in this fine may be the amount of financial loss to the victim or gain to me as well as
the costs of any confinement or probation supervision. The Court may also order that restitution
be made to any victim of the offense. If I am convicted of any offense specified in 18 U.S.C. §
3663A(c), or as otherwise required by law, restitution is mandatory. I have a right to a review of
my sentence by the United States Court of Appeals for the Sixth Circuit unless waived in the plea
agreement.

       (7) I understand that, under 18 U.S.C. § 3561(a), I am not eligible for a sentence of
probation if I receive any sentence of imprisonment at the same time on this offense or any other
offense, or am convicted of a Class A or Class B felony, or the offense is one for which
probation is expressly prohibited. I have been informed that under the present federal sentencing
system there is no parole. I will receive only 54 days good time credit per year and it will not




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vest until the end of each year. I further understand that if I am sentenced to a period of
supervised release and I violate the terms of that supervised release, upon revocation I could be
imprisoned again.

         (8) I understand that should this plea of guilty be accepted, I will be a convicted felon in
the eyes of the law for the rest of my life. This means, under present law that (a) I cannot vote in
Tennessee, unless my right to vote is lawfully restored, and may not be eligible to vote in other
states; (b) I cannot possess a firearm anywhere; (c) If I am presently on probation, parole, or
supervised release whether state or federal, the fact that I have been convicted may be used to
revoke my probation, parole or supervised release regardless of what sentence I receive on this
case; (d) If I am convicted of any crime in the future, whether state or federal, this conviction
may be used to increase that sentence; (e) I may have to disclose the fact that I am a convicted
felon when applying for employment and such disclosure may result in my not getting some jobs
and having difficulty in getting others. If I have been convicted of certain drug offenses, my
conviction may result in my losing entitlement to certain federal benefits pursuant to the Anti-
Drug Abuse Act of 1988. I understand that this list may not include all of the adverse
consequences of my conviction in this case.

        (9) I understand that I can plead "NOT GUILTY" to any or all offenses charged against
me, and continue to plead "NOT GUILTY', and that if I choose to plead not guilty, the
Constitution guarantees me (a) the right to a speedy and public trial by jury; (b) the right not to
testify and no implication of guilt would arise by my failure to do so; (c) the right to be
presumed innocent until such time, if ever, that the government proves my guilt beyond a
reasonable doubt to the satisfaction of a court and jury; (d) the right to see and hear all the
witnesses and to cross-examine any witness who may testify against me; (e) the right to use the
power and process of the court to compel the production of any evidence, including the
attendance of any witnesses, in my favor; and to testify in my own behalf if I choose to do so; (f)
the right to have the assistance of counsel in my defense at all stages of the proceedings; (g) if I
am convicted at such trial I have the right to appeal with a lawyer to assist me and the appeal will
not cost me any money if I am indigent. I understand that if the Court accepts my plea that there
will be no jury trial and that I will be convicted of the count(s) to which I plead just as if a jury
found me guilty of the charge(s) following a trial. The Court may then impose sentence upon me
within the limits set forth in any plea agreement stated in paragraph (13), subject to the
maximum punishments set forth in paragraph (5).

       (10) No officer or agent of any branch of government (federal, state or local), nor any
other person, has guaranteed me what sentence I will receive. If there are any agreements
between myself and my lawyer and the prosecution concerning my plea they are fully set forth in
paragraph (13) below. I understand that even with a plea agreement no person can bind the
Judge to give any particular sentence in my case. If the Judge rejects an agreement pursuant to
Federal Rule of Criminal Procedure I I(c)(1)(A) or (C) I will be offered the opportunity to
withdraw my guilty plea. If the Judge rejects a recommendation made pursuant to Rule
11(c)(1)(B) I have no right to withdraw my plea. I understand that if the Judge decides to make
a recommendation about where I should serve any incarceration that the recommendation is not a
promise or a guarantee, but only a recommendation and is not binding on the Bureau of Prisons
which will make the final decision (after I am sentenced) about where I will be incarcerated.
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       (11) My lawyer has done all the investigation and research in this case that I have asked
her/him to do, and has reviewed with me the discovery material provided by the Government. I
am satisfied with her/his representation at this point.

       (12) Fully understanding my rights to plead "NOT GUILTY" and fully understanding the
consequence of my plea of guilty, I wish to plead "GVLTY" and respectfully request the Court
to accept my plea as follows:SSee, Pl-     re-_~ _

         (13) This plea is a result of a plea agreement between my lawyer and the prosecution
under the provisions of Rule 11 of the Federal Rules of Criminal Procedure. The plea agreement
is as follows: See Plea Agreement.




       (14) I offer my plea of "GUILTY" freely and voluntarily and of my own accord; also my
lawyer has explained to me, and I feel and believe I understand this petition.

       (15) I am not under the influence of either drugs or alcohol.

        (16) I request the Court to enter now my plea of "GUILTY" asset forth in paragraph (12)
of this petition, in reliance upon my statements made in this petition.

        (17) Recognizing that the Court may reserve acceptance of this plea pending the receipt
of the pre-sentence report, I agree that the pre-sentence report may be disclosed to the United
States Attorney, my counsel and myself, prior to the sentencing hearing.

        Signed by me in open court under the penalties of perjury in the presence of my lawyer,
this the d day of TU f ti      3 2019.




                                             Defendant



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                  ACKNOWLEDGMENT OF GOVERNMENT ATTORNEY

       The maximum punishment, plea and plea agreement (if any) are accurately stated above.



                                             Lawyer for Grnment




                                 CERTIFICATE OF COUNSEL

       The undersigned, as lawyer and counselor for Tarius Claybrooks, hereby certifies as
follows:

        (1) I have read and fully explained to Tarius Claybrooks all the accusations against him/
her in this case;

        (2) To the best of my knowledge and belief each statement set forth in the foregoing
petition is accurate and true;

        (3) In my opinion the plea of "GUILTY' as offered by Tarius Claybrooks in paragraph
(12) of the foregoing petition, is voluntarily and understandingly made; and I recommend to the
Court that the plea of "GUILTY' be accepted and entered as requested in paragraph (12) of the
foregoing petition.

  Signed by me in open court in the presence of Tarius Claybrooks this               day of
                                            2019.
                                                 4      ^




                                              awyer Or tlrCDefendant




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                                            ORDER



       Good cause appearing therefore from the foregoing petition of the foregoing named

defendant and the certificate of her/his counsel and for all proceedings heretofore had in this

case, it is ORDERED that the petition be granted and the defendant's plea of "GUILTY" be

accepted and entered as prayed in the petition and as recommended in the certificate of counsel.
                                 trY


       Done in open court this day of                 2019.




                                              UNITED STATES DISTRICT JUDGE




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